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                 Exhibit C
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


       STATE OF MARYLAND, ET AL.,

                    Plaintiffs,
                                                                  Case No.: 1:25-cv-
                        v.

    UNITED STATES DEPARTMENT OF
        AGRICULTURE, ET AL.,

                  Defendants.




                   DECLARATION OF ANNA HUNTER,
                       ASSISTANT DIRECTOR,
   DIVISION OF EMPLOYMENT AND REHABILITATION SERVICES, ARIZONA
                 DEPARTMENT OF ECONOMIC SECURITY

       I, Anna Hunter, declare as follows:

       1.      I am a resident of the State of Arizona. I am over the age of 18 and have personal

knowledge of all the facts stated herein, except to those matters stated upon information and

belief; as to those matters, I believe them to be true. If called as a witness, I could and would

testify competently to the matters set forth below.

       2.      I am currently employed by the Arizona Department of Economic Security

(“ADES”) as the Assistant Director, Division of Employment and Rehabilitation Services

(“DERS”).

       3.      ADES works with families, community organizations, advocates and State and

federal partners towards ensuring the safety and economic security of all Arizonans. In

furtherance of this goal, ADES assists individuals who are unemployed or underemployed, and

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those with barriers to employment, to prepare for, obtain, and sustain gainful employment.

Among other things, ADES delivers employment and training services administered through

various programs at the state and local level under the Workforce Innovation and Opportunity

Act (WIOA).

          4.   For example, ADES manages claims for unemployment benefits by individuals

formerly employed to work in Arizona.

          5.   As Assistant Director, DERS, I can request and be given information about

records relating to claims for unemployment benefits through the Unemployment Insurance (UI)

program.

          6.   Currently, those records show that in 2024, ADES received 234 regular UI initial

claims for benefits for which a federal employer was identified as the last employer during the

months of January and February. In 2025, ADES received 286 regular UI initial claims for

benefits for which a federal employer was identified as the last employer during the same time

period.

          7.   ADES also is the state entity responsible for conducting outreach and providing

unemployment services required by the federal Workforce Investment Act of 1998, as amended

by the federal Workforce Innovation and Opportunity Act of 2014. Specifically, ADES oversees

Arizona’s Rapid Response program. See 29 U.S.C. § 3174(A)(2)(i).

          8.   Arizona’s Rapid Response program is a Workforce Reduction Support service

that provides prompt layoff transition support and reemployment services to employers and

employees affected by workplace layoffs and closures in Arizona. Employers and affected

employees are supported through no-cost, customized services to help mitigate the effects of

workforce reduction.



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       9.      I understand on information and belief that, under 5 U.S.C. § 3502(d)(3)(A)(i),

the federal Government is required to notify “the State or entity designated by the State to carry

out rapid response activities under section 134(a)(2)(A) of the Workforce Investment Act of

1998” of a plan for a reduction-in-force (RIF) of a significant number of federal employees,

generally at least 60 days in advance of any proposed RIF.

       10.     To the best of my knowledge ADES has not received notice from the federal

government of a RIF at any federal agency that would trigger the Arizona Rapid Response

program.

       11.     At this time, ADES does not know how many federal employees who may be

permitted to file for unemployment benefits in Arizona have been terminated from their

employment since January 20, 2025.

               Executed on March 5, 2025, in Maricopa County, Arizona.




                                              /s/ Anna Hunter*
                                              Anna Hunter, Assistant Director,
                                              Division of Employment and Rehabilitation
                                              Services, Arizona Department of Economic
                                              Security

                                              *A copy of the signature page bearing an
                                              original signature is attached hereto.




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